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                      IN THE UNITED STATES DISTRICTCOURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION


SIWELL, INC. D/B/A CAPITAL                  §
MORTGAGE SERVICES OF TEXAS                  §
                                            §
        Plaintiff,                          §
                                            §
v.                                          §       Civil Action No. 5:19-cv-00025-C
                                            §
WILLIAM BERTHELETTE AND                     §
LAND GORILLA, INC.                          §
(formerly Land Gorilla, LLC)                §
                                            §
        Defendants.                         §

DEFENDANT’S STATEMENT OF NO OPPOSITION TO PLAINTIFF’S MOTION FOR
                  EXTENSION OF TIME (Dkt. #35)

        NOW INTO COURT, through undersigned counsel, comes Defendant, Land Gorilla, Inc.

(“Land Gorilla”), who respectfully informs this Honorable Court that it does not oppose Plaintiff

Siwell, Inc. d/b/a Capital Mortgage Services of Texas’s Motion to Extend Time to File Response

(Dkt. #35) to Defendant’s Application to Confirm Arbitration Award (Dkt. #34).

                                     Respectfully submitted,


                                     By:    /s/ Jonathan M. Herman
                                            Jonathan M. Herman (TX Bar No. 24052690)
                                            Michael L. Hood (TX Bar No. 09943435)
                                            THE HERMAN LAW FIRM
                                            1601 Elm Street, Suite 2002
                                            Thanksgiving Tower
                                            Dallas, Texas 75201
                                            Telephone:     (214) 624-9805
                                            Facsimile:     (469) 383-3469
                                            jherman@herman-lawfirm.com
                                            mhood@herman-lawfirm.com

                                            Counsel for Defendant
                                            Land Gorilla, Inc. (formerly Land Gorilla, LLC)



DEFENDANT’S STATEMENT OF NO OPPOSITION                                                    PAGE 1
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                                    CERTIFICATE OF SERVICE

        On January 18, 2022, I electronically submitted the foregoing document and its supporting
papers with the Clerk of the Court for the U.S. District Court, Northern District of Texas, using
the electronic case filing system of the Court. I hereby certify that I have served all counsel or pro
se parties of record electronically or by another method of service authorized by Federal Rule of
Civil Procedure 5(b)(2).

                                              /s/ Jonathan M. Herman
                                               Jonathan M. Herman




DEFENDANT’S STATEMENT OF NO OPPOSITION                                                         PAGE 2
